           Case 6:12-cv-06120-SOH Document 61 Filed 06/20/14 Page 1 of 1 PageID #: 735
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                                    TEXARKANA DIVISION

                                                            MINUTES


Moss, et al.                                                   -8'*( Susan O. Hickey, U. S. District Judge
3/$,17,))                                                                         Felisha Burson
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United States of America                                      &$6(12
'()(1'$17                                                 INTERPRETER:
   $77< Deborah F. Groom
                                                                 '$7(       June 20, 2014


                                  $&7,21 Telephonic Status Conference

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10:00 am       Court convenes.
               Status Conference re:
               4:12-CV-4030 Moss, et al. v. USA - Lance Lee appearing on behalf of the Plaintiffs.
               4:12-CV-4034 Johnston v. USA - Mickey Buchanan appearing on behalf of the Plaintiff.
               4:12-CV-4035 Jez v. USA - Mickey Buchanan appearing on behalf of the Plaintiff.
               4:12-CV-4081 Sultz, et al. v. USA - Richard Mays and Kelvin Wyrick appearing on behalf of the Plaintiffs.
               4:12-CV-4111 Smith, et al. v. USA - Lee Ayres appearing on behalf of the Plaintiffs.
               4:12-CV-4114 Basinger v. USA - Rendi Beth Wiggins appearing on behalf of the Plaintiff.
               4:12-CV-4134 Willis v. USA - David Carter appearing via telephone on behalf of the Plaintiff.
               4:12-CV-4146/4:12-CV-4020 McMaster v. USA - Rendi Beth Wiggins appearing on behalf of the Plaintiff.
               4:12-CV-4157 Shumake v. USA - Kent Spence/Noah Drew appearing via telephone on behalf of the Plaintiff.
               6:12-CV-6120 Roeder, et al. v. USA, et al. - Chad Trammell appearing on behalf of Plaintiffs. Rodney Moore
               appearing on behalf of Individual Defendants.
               4:13-CV-4018 Rachel, et al. v. USA - Rendi Beth Wiggins appearing on behalf of the Plaintiffs.
               The parties have conferred regarding limited discovery issues, as well as, consolidation of cases and will submit a
               proposed order for the Court's approval.
               The Court will issue orders on the pending Motions to Lift Stay.
               By oral consent of the parties, 6:12-CV-6120 Roeder, et al. v. USA, et al. is hereby transferred to the Texarkana
               Division.
               The Court will schedule a status conference for August, 2014.
10:45 am       Court adjourned.
